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                       PSJ15 Exh 17
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                                     SPECIALTY GENERICS
                   Convention and Trade Show Marketing Material Order Form
                                     Updated: 07.26.2016
    SHOW                               HEB 2016
Ship to:          Marriott RiverCenter - Attn: Bonnie New - Guest arrriving 10/10/16
Address:          101 Bowie Street
City/State/Zip:   San Antonio, TX 78205
Phone #:          210-223-1000
                                                                          Unit of         Qty
     Item #       Description
                                                                          Measure      Requested



GEN01314          ADHD Pocketcard Set                                        Ea.          250




GEN02814          2017 Pharmacognosy Calendar                                Ea.       IN PROCESS




GEN03916          Oxycodone HCL & APAP Oral Solution                         Ea.       IN PROCESS




GEN03515          Clomipramine HCl Capsules                                  Ea.           0




GN00051           Convention Contact Cards                                Pad of 50        0




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GEN02714     Corporate Product Monitoring Cards                 Ea.       250




GEN01914     Dextroamphetamine ER Capsules                      Ea.        0




GEN02014     Dextroamphetamine Sulfate Tablets USP              Ea.        0




GEN01514     Equivalent Dose Conversion Guide                   Ea.       250




GEN00613     Fentanyl Patch sell sheet                          Ea.        0




GEN00913     Generic Product Catalogs - Rev 02.2015             Ea.        0




             Hydrocodone Bitartrate
GEN03014                                                        Ea.    IN PROCESS
             and Aceteminophen sell sheet




GEN01414     Hydromorphone HCl ER tablets (EXALGO)              Ea.        0




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GEN03315     Improved Label Features                            Ea.        0




AT00114      Methadose/Methadone Sell Sheet                     Ea.        0




             Methylphenidate ER Tablet
GN11214                                                         Ea.        0
             sell sheet (Concerta)




GEN01714     Methylphenidate Oral Solution sell sheet           Ea.        0




             Methadone HCl Tablets,
GEN03115     Dispersible Orange Flavored for                    Ea.        0
             Oral Suspension)




GEN00513     Mixed Salts sell sheet                             Ea.        0




GEN01014     Morphine Oral Solution sell sheets                 Ea.        0




GEN01114     Morphine Sulfate ER Tablets sell sheet             Ea.        0




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GEN00413      Opioid Addiction Treatment Education Series        Ea.        0




GEN01814      Oral Transmucosal Fentanyl Citrate                 Ea.        0




GEN03615      Oxycodone HCl & Oxycodone/APAP sell sheet          Ea.        0




GEN01214      Pain Management Pocketcard Set                     Ea.       250




GEN00713      Unit Dose sell sheet                               Ea.        0




GEN01614      Wong-Baker FACES Pain Scales                     Pk of 25     6




              Wong-Baker FACES sell sheet
n/a                                                              Ea.        0
              (not inventoried - print on demand)




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